         Case 1:23-cr-00570-ER         Document 22 Filed 07/11/24 Page 1 of 11
                                                  U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York
                                                      50 Main Street, Suite 1100
                                                      White Plains, New York 10606




                                                      July 11, 2024


The Honorable Edgardo Ramos
United States District Judge
Thurgood Marshall U.S. Courthouse
40 Foley Square
New York, NY 10007

   Re:        United States v. Nikolay Levinson, 23 Cr. 570 (ER)
              United States v. Nikolay Levinson, 18 Cr. 893 (ER)

Dear Judge Ramos:

       The Government respectfully submits this letter in advance of the sentencing of defendant
Nikolay Levinson in 23 Cr. 570, and his anticipated admission and sentencing for a violation of
his conditions of supervised release in 18 Cr. 893, both currently scheduled for July 17, 2024.

       In 23 Cr. 470, Levinson pleaded guilty to six counts of mailing threatening
communications, in violation of Title 18, United States Code, Section 876(c), pursuant to a plea
agreement in which the parties stipulated to a United States Sentencing Guidelines (“Guidelines”)
range of 21 to 27 months’ imprisonment.

        In 18 Cr. 893, the Government anticipates that Levinson will admit to Specification 14 of
Probation Office’s June 13, 2024 Amended Violation Report, which alleges Levinson’s
commission of the offenses to which he pleaded guilty in 23 Cr. 470. The Guidelines range for
this violation of supervised release is 8 to 14 months’ imprisonment.

        For the reasons set forth below, the Government submits that, in 23 Cr. 470, a sentence at
the high end of the 21-to-27-month stipulated Guidelines range with the special conditions of
release set forth in the parties’ plea agreement, and, in 18 Cr. 893, a consecutive sentence within
the 8-to-14-month Guidelines range, are necessary and appropriate.

   A. Background and Offense Conduct

         The defendant’s conduct is a continuation of his unrelenting pattern of mailing threatening,
racist, anti-Semitic, and harassing letters to innocent victims since at least March 2014, when the
defendant was a corrections officer with the Maryland Department of Corrections (“MDOC”). (18
CR 893 PSR ¶¶ 25-28) (“18 PSR”). Initially, the defendant mailed letters to MDOC personnel
containing pornographic images of men engaging in sex acts and allegations that MDOC personnel
were engaging in sexual activity with inmates and/or each other, were members of the Ku Klux
        Case 1:23-cr-00570-ER         Document 22        Filed 07/11/24      Page 2 of 11

                                                                                            Page 2


Klan, and were under federal investigation and facing imminent criminal charges. (18 PSR ¶¶ 28,
31).

       Also in 2014, the defendant mailed dozens of threatening, racist and anti-Semitic letters,
to numerous law enforcement officers, bank and restaurant personnel, and houses of worship in
Fort Lee, New Jersey. (23 Cr. 470 PSR ¶ 64) (“23 PSR”).

         In July 2015, the defendant mailed the four threatening letters underlying his convictions
for Counts One through Four in 18 Cr. 893. (18 PSR ¶¶ 16-24). These victims were an agent of
a modeling agency who had briefly employed the defendant as his driver (18 Cr. 893 Count One),
a civilian New York City Police Department (“NYPD”) Applicant Processing Division employee
who had been involved in the repeated denials by the NYPD of the defendant’s applications for
employment as an NYPD officer (18 Cr. 893 Count Two), and two NYPD officers with whom the
defendant was acquainted (18 Cr. 893 Counts Three and Four). (Id.).

        In August 2015, Levinson was rearrested and detained pending trial in the 2014 New Jersey
case for continuing to mail similar anonymous letters in New Jersey. For his New Jersey offenses,
the defendant was convicted in 2017 of terroristic threats and stalking and sentenced to time-served
(734 days) and five years’ probation. (23 PSR ¶ 64).

        Virtually immediately upon his August 2017 release from imprisonment, the defendant
sent the threatening, racist, and anti-Semitic letters underlying Counts Five through Nine in 18 Cr.
893. (18 PSR ¶¶ 17, 29-38). These victims were an MDOC Lieutenant who had supervised the
defendant when he was an MDOC corrections officer (18 Cr. 893 Count Five), a retired NYPD
detective currently employed as an NYPD civilian employee and had published a book about the
NYPD, but does not appear to have ever met or interacted with the defendant (18 Cr. 893 Count
Six), the same agent of a modeling agency to whom the defendant had previously sent the
threatening letter underlying 18 Cr. 893 Count One (18 Cr. 893 Count Seven), an MDOC
corrections officer with whom the defendant had worked when he was a corrections officer (18
Cr. 893 Count Eight), and a childhood friend (18 Cr. 893 Count Nine). In September 2019, the
Hon. Denise Cote sentenced Levinson to 27 months’ imprisonment and three years’ supervised
release. (23 PSR ¶ 67).

        Also immediately upon his August 2017 release from imprisonment, the defendant
resumed sending letters to other victims in New Jersey. (23 PSR ¶ 65). These letters led to the
defendant’s October 2017 arrest and 2020 conviction in New Jersey for terroristic threats in the
third degree and bias intimidation in the second degree, for which he was sentenced to 7 years’
imprisonment, to run concurrently with his federal sentence. (Id.).

        The defendant did not even cease his campaign of threatening letters following his October
2017 New Jersey arrest. (23 PSR ¶¶ 108-109). In December 2017 – while imprisoned – the
defendant gave a co-conspirator a handwritten note and directed that co-conspirator’s mailing of
letters containing nazi symbols and the words “Chistian identity is here White Power” to 15
businesses in New Jersey and New York. (23 PSR ¶ 66). For this offense, the defendant was
sentenced to 1 year imprisonment, to run consecutive with his federal sentence. (Id.).
       Case 1:23-cr-00570-ER         Document 22       Filed 07/11/24     Page 3 of 11

                                                                                         Page 3


        The defendant was released from imprisonment in April 2022 and, again, resumed sending
threatening letters almost immediately. 2023 Cr. 470 arises from the defendant’s mailing from
New Jersey of six threatening communications to five victims in or through the Southern District
of New York while serving that his term of supervised release. These victims were:

                                     Count One (Victim 1)

          On June 30, 2022, the defendant mailed to a jewelry store in the Bronx, all the
employees of which are Jewish, a cartoon bearing the text “NIGGERS, JEWS . . . BAD NEWS!”
and a drawing of a black man pointing a handgun in the direction of a white man who is wearing
a yarmulke and holding a piece of paper with the words “NOTICE – RENT HIKE – EFFECTIVE
IMMEDIATELY” (“the Cartoon”), depicted below:




       Count Two (Victim 2)

        On July 2, 2022, the defendant mailed the same Cartoon to a law firm in Manhattan, most
or the attorneys of which are Jewish.
       Case 1:23-cr-00570-ER         Document 22        Filed 07/11/24     Page 4 of 11

                                                                                          Page 4


       Counts Three and Four (Victim 3)

        On July 8, 2022, the defendant mailed a letter containing a swastika and an image of Adolf
Hitler, in an envelope with “I am coming to kill you” written on its upper left corner, depicted
below:




               On October 2, 2022, the defendant mailed Victim-3 a second letter, depicted below:
       Case 1:23-cr-00570-ER          Document 22      Filed 07/11/24      Page 5 of 11

                                                                                          Page 5


              Count Five (Victim 4)

        On October 17 and 22, 2022, the defendant mailed to the principal of a public high school
in the Williamsburg neighborhood of Brooklyn the Cartoon and the letter below.




              Count Six (Victim 5)

      On November 6, 2022, the defendant mailed the letter below to another Jewish man in
Brooklyn.
        Case 1:23-cr-00570-ER         Document 22        Filed 07/11/24      Page 6 of 11

                                                                                            Page 6


       These threatening mailings were, however, only a small subset of at least 41 similar
anonymous, threatening, hateful, racist, anti-Semitic, and anti-Muslim letters the defendant sent to
victims in the greater New York City area from June 20 through November 6, 2022, including:

       •   The following letter, which the defendant mailed to a Jewish museum in Manhattan:




       • The following letter, stating that “The Nazi party has resurrected, HAIL HITLER!
Niggers, faggots, and Muslims must be expelled,” which the defendant mailed to individual
victims and five synagogues in Manhattan and the Bronx:
        Case 1:23-cr-00570-ER           Document 22         Filed 07/11/24       Page 7 of 11

                                                                                                Page 7


        •       The following letter, which the defendant mailed to individual victims and a public
                school in Sheepshead Bay, Brooklyn, New York.




    B. The Plea and Guidelines Calculations

        i.      23 Cr. 570 (ER)

        On November 10, 2022, the defendant was arrested by Probation Officers in the District of
New Jersey. He has remined in federal custody since that time. On November 1, 2023, a grand
jury in the Southern District of New York returned the Indictment in this case charging six counts
of mailing threatening communications, in violation of Title 18, United States Code, Section
876(c). On March 20, 2024, pursuant to a plea agreement, the defendant pleaded guilty to all six
counts.

       In the plea agreement, the parties stipulated to a Sentencing Guidelines offense level of 14 and
a criminal history category of III, resulting in a Stipulated Guidelines Range of 21 to 27 months’
imprisonment.

        The Probation Office has correctly calculated an offense level of 13 and criminal history
category of V. The difference in the offense level is a result of the parties’ failure to account for his
mailing of two of the six letters to a single victim, which results in five groups of counts rather than
six, and a 4-level increase to the offense level, pursuant to U.S.S.G. § 3D1.4, rather than the 5-level
increase to which the parties stipulated in the plea agreement. The difference in the criminal history
score is a result of the parties’ failure to account for two of the defendant’s New Jersey convictions
and, as a result of those convictions bringing his criminal history points above seven, an additional
point assessed for the defendant’s commission of the offense while on supervised release, pursuant to
U.S.S.G. § 4A1.1(e).
        Case 1:23-cr-00570-ER           Document 22        Filed 07/11/24        Page 8 of 11

                                                                                                Page 8


The Government believes that the Probation Office’s calculation of the defendant’s offense level and
criminal history score are correct. Under the Probation Office’s calculations, the Guidelines range
would be 30 to 37 months’ imprisonment. However, given the important contractual principles
which govern plea agreements, see, e.g., Santobello v. New York, 404 U.S. 257 (1971), the
Government stands by its plea agreement, which calculated the Guidelines range as 21 to 27
months’ imprisonment.

       ii.     The Parties’ Agreement to Jointly Request Special Conditions of Release

       In their plea agreement, the parties agreed to jointly request that the Court:

       impose a five-year term of supervised release following imprisonment with special
       conditions including, but not limited to, evaluation and compliance with mental health
       treatment as directed by the U.S. Probation Office, including (1) initially, inpatient
       psychiatric treatment as directed by the U.S. Probation Office, during which time the
       defendant’s need for medication shall be evaluated and his applications for funding
       through the NJ Division of Developmental Disabilities (“DDD”), Social Security
       Disability, and Supplemental Security Income shall be initiated, to be followed by; (2)
       residence in a supervised living environment as directed by the U.S. Probation Office,
       such as a DDD group home or other form of supervised group home, through which
       the defendant’s medications will be mandated and supervised; (3) compliance with the
       medication regimen, which may include injectable medication, prescribed by a licensed
       psychiatrist approved by the U.S. Probation Office; and (4) psychotherapeutic
       treatment from a licensed psychologist or a licensed clinical social worker as directed
       by the U.S. Probation Office. The defendant shall contribute to the cost of such
       services rendered and any medications prescribed, via co-payment or full payment, in
       an amount to be determined by the U.S. Probation Office, based upon the defendant's
       ability to pay and/or the availability of third-party payment.

Plea Agreement at 3.

       iii.    18 Cr. 893 (ER)

        The Government anticipates that the defendant will admit to Specification #14, which alleges
that he committed the crime of mailing a threatening communication, in violation of 18 U.S.C.
§ 876(c), as the defendant pleaded guilty in 23 Cr. 570(ER). This is a Grade B violation. Based upon
the defendant’s criminal history of III in 18 Cr. 893, the Guidelines range for this supervised release
violation is 8 to 14 months’ imprisonment, pursuant to U.S.S.G. § 7B1.4.

   C. Discussion

        In his sentencing submission, the defendant, through counsel, requests that the Court impose a
below-Guidelines sentence of time served (approximately 20 months imprisonment). For the reasons
set forth below, the Government submits that, in 23 Cr. 470, a sentence at the high end of the 21-
to-27-month stipulated Guidelines range with the special conditions of release set forth in the
parties’ plea agreement, and, in 18 Cr. 893, a consecutive sentence within the 8-to-14-month
Guidelines range, are necessary and appropriate.
          Case 1:23-cr-00570-ER          Document 22         Filed 07/11/24       Page 9 of 11

                                                                                                  Page 9


         1. Applicable Law

        As the Court is well aware, the Sentencing Guidelines still provide strong guidance to
sentencing courts following United States v. Booker, 543 U.S. 220 (2005), and United States v.
Crosby, 397 F.3d 103 (2d Cir. 2005). Because the Guidelines are “the product of careful study
based on extensive empirical evidence derived from the review of thousands of individual
sentencing decisions,” Gall v. United States, 128 S. Ct. 586, 594 (2007), district courts must treat
the Guidelines as the “starting point and the initial benchmark” in sentencing proceedings. Id.
at 596. After that calculation, however, the Court must consider the seven factors outlined in Title
18, United States Code, Section 3553(a), which include the nature and circumstances of the
offense, the individual characteristics of the defendant, and the need to adequately deter criminal
conduct and promote respect for the law. Id. at 50 & n.6.

        Guidelines Section 7B1.3(f) provides: “Any term of imprisonment imposed upon the
revocation of . . . supervised release shall be ordered to be served consecutively to any sentence of
imprisonment that the defendant is serving, whether or not the sentence of imprisonment being served
resulted from the conduct that is the basis of the revocation of . . . supervised release.” The commentary
provides that “it is the commission’s recommendation that any sentence of imprisonment for a criminal
offense that is imposed after revocation of . . . supervised release be run consecutively to any term of
imprisonment imposed upon revocation.” U.S.S. G. § 7B1.3, cmt. n. 4.

      2. The Requested Sentences are Necessary and Appropriate in this Case

        In 23 Cr. 570, the Government respectfully submits that a sentence within the Stipulated
Guidelines range of 21 to 27 months’ imprisonment, along with the special conditions of release the
parties agreed to jointly request as part of the plea agreement, is sufficient, but not greater than
necessary, to comply with the purposes of sentencing. Weighing the applicable factors under 18 U.S.C.
§ 3553(a)(2), it is clear that the seriousness of the offenses, the history and characteristics of the
defendant, and the need to promote respect for the law, provide just punishment, afford adequate
deterrence and protect the public, are all significant considerations in crafting a just sentence given the
conduct at issue in this case.

        A sentence within the Guidelines range would acknowledge the most pernicious effects of the
defendant’s conduct, its impact on individual victims, and the need to protect the public. Just as the
defendant intended, his threats caused significant fear and distress in his victims and the communities
in which they live. The defendant intended to do more than simply instill fear in his victims. In most
of his mailings, the defendant included racist language and Nazi symbols in a deliberate effort to
increase racial and religious tension and the harm that he caused.

         Understanding the defendant’s motivations is more complicated than may be readily
apparent. A majority of the defendant’s mailings contain anti-Semitic language and were sent to
Jewish victims or organizations. However, the defendant has a Jewish father, lived in Israel with
his family as a child, speaks Hebrew, and purportedly fled Russia with his family to escape anti-
Semitism. It is abundantly clear, however, that the defendant suffers from significant mental health
issues 1 and is overwhelmingly likely to recidivate soon after his release from imprisonment unless

1
    See September 22, 2023 Report of Jonathan H. Mack, Psy.D., Def.’s Sent. Mem., Ex. D.
       Case 1:23-cr-00570-ER          Document 22        Filed 07/11/24      Page 10 of 11

                                                                                           Page 10


those issues are treated, including through the use of injectable anti-psychotic medication if
prescribed by his treating physicians. The special conditions of release to which the parties agreed
in the plea agreement are aimed at facilitating this treatment in order to prevent the additional
crimes the defendant is virtually certain to commit immediately upon release absent appropriate
treatment, and the harm that those future crimes will inflict on numerous additional innocent
members of the community.

        While they undoubtedly contributed to the offense, the defendant’s history and
characteristics, including mental health issues, do not merit a time-served sentence. The defendant
has repeatedly committed the same crime, over and over again. Imprisonment does not deter him,
but it does largely protect the public by making it more difficult for the defendant to continue to
commit a serious offense that instills real fear into innocent victims and the community. The
sentences the Government requests are necessary to reflect the seriousness of the offenses and
adequately protect the community from further crimes of this defendant.

        In addition, notwithstanding his mental health issues, the defendant’s actions, including his
choice of victims and relentless efforts, even after serving significant terms of imprisonment for
the same conduct, undeniably reflect a calculated malevolence. He sent his threats anonymously
precisely because he had awareness of the wrongfulness of his actions. He took steps to avoid
being caught. His actions were not impulsive. They involved a degree of planning, including
researching the addresses of his victims. He devoted time and energy to executing his plan. He
intended to cause harm, and repeatedly did so. The sentences the Government requests are
necessary in order to adequately deter this defendant and others from similar conduct.

        Finally, the defendant’s commission of the instant offenses shortly after beginning a term
of supervised release following a conviction for the identical offense, warrants a consecutive,
within-Guidelines term of imprisonment for his flagrant violation of his conditions of supervised
release.

   D. Conclusion

            For the reasons set forth above, the Government respectfully submits that a sentence at
the high end of the 21-to-27-month stipulated Guidelines range in 23 Cr. 470, a consecutive
sentence within the 8-to-14-month Guidelines range in 18 Cr. 893, and the special conditions of
release set forth above, are necessary and appropriate in this case.


                                              Respectfully submitted,

                                              DAMIAN WILLIAMS
                                              United States Attorney

                                          by: __/s/ Jeffrey C. Coffman_______
                                              Jeffrey C. Coffman
                                              Assistant United States Attorney
                                              (914) 993-1940
      Case 1:23-cr-00570-ER   Document 22   Filed 07/11/24   Page 11 of 11

                                                                        Page 11


cc:   David M. Stern, Esq.
      (via ECF)
